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                            UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

In re:                                                          Case No. 16-41520-ELM
         CARLOS MARTINEZ DUNCKER

                     Debtor(s)



             CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

       Tim Truman, chapter 13 trustee, submits the following Final Report and Account of the
administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as follows:



         1) The case was filed on 04/14/2016.

         2) The plan was confirmed on 07/15/2016.

       3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
10/14/2017, 05/23/2020, 07/14/2020.

         4) The trustee filed action to remedy default by the debtor in performance under the plan on NA
.

         5) The case was completed on 01/11/2021.

         6) Number of months from filing to last payment: 57.

         7) Number of months case was pending: 61.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $287,588.88.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




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Receipts:

           Total paid by or on behalf of the debtor                  $7,825.00
           Less amount refunded to debtor           $62.00

NET RECEIPTS:                                                                                           $7,763.00



Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                     $800.00
     Court Costs                                                                 $0.00
     Trustee Expenses & Compensation                                           $602.55
     Other                                                                      $64.02
TOTAL EXPENSES OF ADMINISTRATION:                                                                       $1,466.57

Attorney fees paid and disclosed by debtor:                      $7,500.00



Scheduled Creditors:
Creditor                                           Claim          Claim         Claim       Principal        Int.
Name                                  Class      Scheduled       Asserted      Allowed        Paid           Paid
ADELA MARTINEZ DUNCKER RAM         Unsecured       45,715.00             NA           NA           0.00         0.00
ADRIANA SIMON                      Unsecured       40,000.00             NA           NA           0.00         0.00
BANK OF AMERICA                    Unsecured          185.80             NA           NA           0.00         0.00
EDUARDO PERUSQUIA ORTEGA           Unsecured       68,570.00             NA           NA           0.00         0.00
EFRAIN VEGA                        Priority         2,760.00        2,760.00     2,760.00      2,760.00         0.00
IL DEPT OF HEALTHCARE              Priority             0.00             NA           NA           0.00         0.00
INTERNAL REVENUE SERVICE           Unsecured             NA         3,046.41     3,046.41      3,046.41       194.52
INTERNAL REVENUE SERVICE           Unsecured             NA           100.00       100.00          0.00         0.00
IVAN MARTINEZ DUNCKER RAMRI        Unsecured       13,000.00             NA           NA           0.00         0.00
JOMAX RECOVERY SERVICE             Unsecured        2,187.00        2,187.00     2,187.00        295.50         0.00
MARICARMEN OROZCO                  Unsecured       22,000.00             NA           NA           0.00         0.00
MICHAEL SEVIN                      Unsecured       50,000.00             NA           NA           0.00         0.00
MICHAEL SEVIN                      Unsecured       25,000.00             NA           NA           0.00         0.00
MICHAEL SEVIN                      Unsecured        7,711.25             NA           NA           0.00         0.00
OSCAR H SIMON                      Secured         15,900.00             NA           NA           0.00         0.00
PHIL BRIGHAM                       Unsecured        9,639.00             NA           NA           0.00         0.00
RAFAEL VARGAS                      Unsecured            0.00             NA           NA           0.00         0.00
RUTH VILLEGAS MEDELLIN             Unsecured            0.00             NA           NA           0.00         0.00
ST PIUS V CATHOLIC SCHOOL          Unsecured        3,526.33             NA           NA           0.00         0.00
TARRANT COUNTY TAX COLLECT         Secured               NA         7,943.95     7,943.95          0.00         0.00
VERIZON WIRELESS                   Secured              0.00             NA           NA           0.00         0.00
VICTOR M RODRIQUEZ CPA             Unsecured          250.00             NA           NA           0.00         0.00




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 Summary of Disbursements to Creditors:
                                                              Claim           Principal          Interest
                                                            Allowed               Paid              Paid
 Secured Payments:
        Mortgage Ongoing                                      $0.00              $0.00             $0.00
        Mortgage Arrearage                                    $0.00              $0.00             $0.00
        Debt Secured by Vehicle                               $0.00              $0.00             $0.00
        All Other Secured                                 $7,943.95              $0.00             $0.00
 TOTAL SECURED:                                           $7,943.95              $0.00             $0.00

 Priority Unsecured Payments:
         Domestic Support Arrearage                           $0.00               $0.00            $0.00
         Domestic Support Ongoing                             $0.00               $0.00            $0.00
         All Other Priority                               $2,760.00           $2,760.00            $0.00
 TOTAL PRIORITY:                                          $2,760.00           $2,760.00            $0.00

 GENERAL UNSECURED PAYMENTS:                              $5,333.41           $3,341.91          $194.52




Disbursements:

         Expenses of Administration                               $1,466.57
         Disbursements to Creditors                               $6,296.43

TOTAL DISBURSEMENTS :                                                                       $7,763.00



        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009, the estate
has been fully administered, the foregoing summary is true and complete, and all administrative matters for
which the trustee is responsible have been completed. The trustee requests a final decree be entered that
discharges the trustee and grants such other relief as may be just and proper .

Dated: 04/30/2021
                                             By: /s/ Tim Truman
                                                 Tim Truman, Standing Chapter 13 Trustee


STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork
Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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